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14
                                     UNITED STATED BANKRUPTCY COURT
15
                                       CENTRAL DISTRICT OF CALIFORNIA
16
                                                  SANTA ANA DIVISION
17

18   In re                                                           Case No.: 8:23-bk-10571-SC
19   THE LITIGATION PRACTICE GROUP P.C.,                             CHAPTER 11
                                                                     RESPONSE BRIEF RE ORDER
20
                                                                     REQUESTING ADDITIONAL BRIEFING
                                Debtor.
21                                                                   IN SUPPORT OF SALE MOTION

22                                                                   Date:      July 21, 2023
                                                                     Time:      10:00 a.m.
23                                                                   Courtroom: 5C – Virtual1
24

25

26
     1
       Accessibility information will be posted into the Court’s tentative ruling prior to the hearing. Parties can obtain such
27   accessibility information on Judge Clarkson’s posted hearing calendar which may be viewed online at: http://ecf-
     ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC
28
     RESPONSE BRIEF RE ORDER REQUESTING ADDITIONAL BRIEFING IN SUPPORT OF SALE MOTION

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 1          TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE CHAPTER 11

 3   TRUSTEE, AND ALL PARTIES IN INTEREST:

 4          Debt Validation Fund II (“DVF”), LLC, MC DVI Fund 1, LLC and MC DVI Fund 2, LLC

 5   (“MC DVI”, and collectively, the “Creditors”) hereby submit this Response Brief pursuant to the

 6   Court’s Order Requesting Additional Briefing in Support of Sale Motion, Docket No. 206

 7   (“Order”).

 8      A. Introduction.

 9          Creditors, three investment funds composed of approximately 500 investors, are the largest
10   creditors of this bankruptcy estate. In August 2022, The Litigation Practice Group P.C. (the
11   “Debtor” or “LPG”) and the Creditors entered promissory notes (the “Notes”) dated September 1,
12   2022 for $66.4 million (for DVF) and $37.4 million (for MC DVI). According to LPG’s filings in
13   this case, its debts to DVF and MC DVI represent about 72% of its stated debt; over $102 million of
14   the $141 million LPG identifies. See, Docket No. 33 at page 30 (debt owed to DVF and MC DVI)
15   and page 38 (total debt).
16          On July 7, 2023, Richard Marshack (the “Chapter 11 Trustee”) filed a Motion for Entry of
17   an Order Approving Sale of Assets, Docket No. 191 (“Sale Motion”). On July 10, 2023, the Court
18   entered the Order requesting additional briefing on three issues:
19                (1) the authority and ability of the Bankruptcy Court to permit the sale of assets of a
20      business, or a business itself as a going concern,
21                (2) the conditions and post-sale reformations of any and all business operations,
22      including independent monitoring, control and restrictions, and
23                (3) the disposition or use of the funds from customers/clients collected since the
24      appointment of a Chapter 11 Trustee.
25          On July 17, 2023, Creditors filed a Joinder (Docket No. 267) to the Pocket Brief of Chapter
26   11 Trustee Richard A. Marshack on Court’s Authority to Approve the Sale Motion (Docket No.
27   260) (the “Chapter 11 Trustee Brief”).
28          Creditors submit this Response Brief inter alia to respond to certain arguments raised in the

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 1   Brief filed by the United States Trustee, Docket No. 259 (“UST Brief”) and to contest the standing

 2   of putative class counsel on behalf of Carolyn Beech and other class members who filed a brief

 3   objecting to the Sale Motion, Docket No. 254 (the “Beech Objection”).2 While no trial has been

 4   held regarding the Debtor’s alleged wrongdoing and no findings have been made by any court, i.e.,

 5   without the most basic due process, the UST seeks to impose a judicial death sentence upon the

 6   Debtor, effectively destroying any meaningful recovery for creditors in this case. Tellingly, the

 7   Consumer Financial Protection Bureau (“CFPB”) does not even agree with the UST that LPG’s

 8   business violates any of the consumer protection statutes and regulations.

 9          On the other hand, the Trustee’s proposed sale, and the protections included therein, seeks

10   to protect consumers and creditors. The asset purchase agreement (“APA”) contains numerous

11   protections to ensure the business will operate within the law, and will inform LPG clients of their

12   rights and that they can continue working with the purchaser or drop out of the program. And it

13   appears, despite the negative, and highly publicized, facts that have emerged about LPG that most

14   of the clients believe they are receiving a valuable service: of the 35,000 clients that are part of the

15   estate, the UST and the CFPB identified 800 complaints; approximately 2% of the total clients.

16          Creditors therefore oppose the UST’s draconian and heavy-handed resolution of this case,

17   which would clearly be to the detriment of LPG’s consumer clients/creditors and all other creditors,

18   and support the Trustee’s sale of the assets of the Debtor’s business with the protections set forth in

19   the APA and as described in detail in the Motion.

20       B. LPG’s Business is Not an Illegal Enterprise That Cannot be Sold.

21          Creditors understand that the Trustee will be fully responding to the UST Brief. Therefore,
22   Creditors do not see value in simply duplicating arguments they anticipate will be made by the
23   Trustee. Creditors do believe a few key issues demonstrate the problems with the UST’s position
24

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     2
       The UST has also filed a motion to convert the case to Chapter 7, Docket No. 218 (“Conversion
26   Motion”) that makes many of the arguments the UST makes in the UST Brief. The hearing on the
27   Conversion Motion is scheduled for August 10, 2023 at 10:00 a.m. Creditors will file an opposition
     to the Conversion Motion no later than July 27, 2023, the deadline to oppose the Conversion Motion.
28   Creditors do however, note that they oppose the Conversion Motion largely for the reasons outlined
     in the Chapter 11 Trustee Brief.
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 1   and address those below.

 2                   (1)    Even the CFPB Does Not State That the Debtor’s Business Cannot be Sold

 3                          or Should Be Shutdown.

 4           In the CFPB letter that the UST offered in support of the UST Brief, the CFPB specifically

 5   says that its letter is not a “finding” that violations of the consumer protection statutes have occurred,

 6   and then “respectfully suggests that the U.S. Trustee consider recommending steps to mitigate

 7   potential violations and ongoing consumer harm in the event of a sale of LPG’s assets.” (Docket

 8   No. 259 at page 31.) The CFPB then recommends six (6) steps to mitigate any such harm. (Docket

 9   No. 259 at pages 38-39.) Thus, even the CFPB, the very agency that is charged with enforcing the

10   federal consumer financial laws believes that the business can be operated within the confines of the

11   arguably applicable federal regulations.
12           As to the six (6) steps, the CFPB does not explain how any of them are required by the
13   Telemarketing Sales Rule (“TSR”). Indeed, while one of the proposed steps is to immediately return
14   all money, the CFPB states in that very same letter that companies subject to the TSR can hold onto
15   clients’ money so long as certain protections are maintained. (Docket No. 259 at pages 35-36.)
16   Assuming that the TSR does apply, the Debtor’s clients—not the CFPB or the UST—should decide
17   whether they want to make advanced payments to the purchaser, subject to the required protections.
18   There could be innumerable reasons why clients would want to do so, for example, so that they can
19   put away funds for whatever fees will come due rather than having to make the payment all at once,
20   which could be a significant financial hardship. Thus, it is better to let the Debtor’s clients decide
21   whether to make claims, rather than requiring the business to return money to clients who might not
22   want them and who may be confused as to why they are receiving the money or how it impacts their
23   obligation to pay when a debt is settled.
24           Creditors thus believe that many of the steps proposed by the CFPB are not required or
25   necessary and risk making it impossible for any purchaser to operate the business and, thereby, to
26   protect the clients.
27

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 1                    (2)   Shutting Down the Business Would Leave the Estate with No Ability to Pay

 2                          the Clients, Whom the UST Purports to Protect.

 3           There is a fundamental disconnect between the UST’s insistence on shutting down LPG

 4   while also advocating that customers of LPG need to be repaid anything they paid to LPG. Those

 5   customers who want to be repaid are almost guaranteed not to be if the business is shutdown. The

 6   Trustee only has approximately $5 million, which is from ACH pulls that occurred after he took over

 7   the business. The UST argues these monies must be returned to the clients from whom the money

 8   was pulled. The UST’s approach means these funds cannot be used to pay the claims of other clients

 9   who want all their money back. Without the proceeds from a sale, the Trustee is therefore left

10   without any funds to provide for the claims of other clients and will not have any funds to pursue
11   avoidance claims against Tony Diab or others who harmed LPG, its clients, and its customers. The
12   UST’s approach, in essence, leaves the estate penniless, and Tony Diab and his co-conspirators as
13   victors, at the expense of the clients and investors they abused.
14           On the other hand, if the business is allowed to continue operating, clients who want to
15   continue being serviced can remain in the program—based on a reformed contract and oversight to
16   ensure that the business is operating within applicable regulations—and there will be money
17   available for those clients who want out of the program, as well as other creditors. In this regard,
18   while the UST has focused on the 800 complaints the CFPB received, that is 800 out of the
19   approximately 35,000 client files that have been identified during hearings and submissions as being
20   in the program. Eight hundred is too many complaints for any legitimate business, but it represents
21   only about 2% of the total enrolled clients. Moreover, based on the 500 “representative” complaints
22   the UST submitted, the vast majority of these complaints occurred since January 1, 2023, i.e., after
23   Tony Diab began in earnest to scuttle the business. If only half of the clients want to remain in the
24   program and get their debt invalidated, that would still be over 15,000 clients who could be benefited
25   by the program and the sale proceeds thereof would provide funds to satisfy claims by creditors and
26   other clients.
27

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 1                  (3)     The 500 Complaints the UST Attaches Indicate That LPG Operated for

 2                          Years as a Legitimate Enterprise, Benefitting Clients.

 3          Of the 500 complaints that the UST submitted, 265 post-date the bankruptcy filing and an

 4   additional 168 occurred between the beginning of this year and the bankruptcy filing. Thus, for the

 5   majority of LPG’s existence, while it faced complaints, the vast majority of its clients appear to have

 6   been happy with its services. It was only after Tony Diab (“Diab”) began his stratagem to transfer

 7   clients to other entities in order to avoid creditors that the complaints skyrocketed. There is no doubt

 8   that significant problems arose this year and that clients have been mistreated during that time. The

 9   solution is not to treat LPG as an irredeemable illegal enterprise; it is to take steps to ensure that

10   those clients who continue to want debt validation services can continue to get those services within

11   the confines of applicable regulations. That is what the Trustee’s proposed sale does.

12          The harm to clients is not just the inability to get their money back. These clients sought

13   LPG’s assistance because they had succumbed to predatory creditors and were being, or were soon

14   to be, chased by debt collectors, who are renowned for their aggressive and overbearing tactics.

15   Some received good service, and others, unfortunately, did not. Since the beginning of this year, all

16   these clients have been abused due to Diab’s mismanagement of the company. If the business is shut

17   down—especially without any way to generate money for clients who request money back—the

18   clients will be on their own, out the money they paid LPG, and largely at the mercy of unscrupulous

19   debt collectors who will be seeking full payment plus unconscionable interest.

20          This is a suit in equity, in which the Court and parties are seeking a solution to a bad

21   situation, a solution that has the greatest likelihood of achieving successes for LPG’s clients that

22   want someone to continue pursuing invalidation of their debts, recovery for those clients who do not,

23   and recovery for those creditors who were defrauded by Diab. None of the UST’s authority indicate

24   that the Court cannot, or should not, approve a sale of a company that can be operated legally.

25      C. The Court Should Not Impose a Post-Petition Constructive Trust Over the Funds
           Collected from Clients.
26
            The Court’s Order inter alia requests that the parties brief the disposition or use of the funds
27
     from customers/clients collected since the appointment of a Chapter 11 Trustee.
28

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 1          In response, the UST Brief asserts that any funds from the customers (including the funds

 2   held by the Trustee in a segregated blocked account) are in violation of the TSR, the Credit Repair

 3   Organizations Act (“CROA”) and any applicable laws, and should not be deemed property of the

 4   estate, but rather returned to such customers.

 5          The UST’s argument is premised upon a violation of the TSR and/or CROA. However, the

 6   Chapter 11 Trustee Brief establishes that the Debtor is not and was not a “debt relief service” nor

 7   did the Debtor accept fees to improve “any consumer’s credit record, credit history, or credit

 8   rating,” and therefore the Debtor is not subject to the TSR and CROA. Thus, there is no legal basis

 9   to impose a constructive trust over the customer funds.

10          The UST Brief in effect argues for the imposition of a constructive trust over these funds

11   held by the Trustee. Chapter 11 Trustee Brief at pgs. 5- 8. While the UST may cite authority that

12   customers are entitled to the imposition of a trust remedy outside of bankruptcy, courts have long

13   recognized that the equities in bankruptcy are simply different and that such authorities are no

14   longer persuasive. In re Bennett Funding Group, Inc., 2007 WL 2042498, at *5 (N.D.N.Y. 2007)

15   (“[T]he imposition of constructive trusts outside of the bankruptcy context are not binding and are
16   less persuasive in adversary actions in bankruptcy proceedings, such as the case at bar; the equities
17   at issue are significantly different when a claimant seeks to impose a constructive trust on proceeds
18   held by a bankruptcy trustee for distribution to all similarly situated unsecured creditors.”) citing In
19   re First Central Financial Corp., 377 F.3d 209, 218 (2nd Cir. 2004).

20          The UST Brief ignores the clear Ninth Circuit authority barring the imposition of post-

21   petition constructive trusts, as such a remedy violates the federal bankruptcy policy of ratable

22   distribution amongst creditors. The UST’s argument to impose a trust would benefit a small subset

23   of customers who made post-petition payments to the Trustee, at the expense of other customers

24   and unsecured creditors of the estate. Such a remedy would arbitrarily favor one group of claimants

25   over all other claimants.

26          The Ninth Circuit has long recognized that the federal bankruptcy policy of “ratable

27   distribution among all creditors is one of the strongest policies behind the bankruptcy laws.” In re

28   North American Coin & Currency, Ltd., 767 F.2d 1573, 1575 (9th Cir. 1985) citing In re Visiting

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 1   Home Services, Inc., 643 F.2d 1356, 1360 (9th Cir.1981); Hassen v. Jonas, 373 F.2d 880, 881 (9th

 2   Cir.1967).

 3           Courts in this Circuit have further recognized that the imposition of a trust over funds,

 4   which favors one group of creditors, to the disadvantage of other creditors, violates this policy.

 5   “Imposing a constructive trust in favor of one creditor deprives other creditors of a pro rata

 6   recovery from debtor's estate and is contrary to one of the strongest policies underlying the

 7   bankruptcy law: ratable distribution of assets to all creditors.” In re Naemi, 128 B.R. 273, 280

 8   (Bankr. S.D. Cal. 1991). See also, In re Commercial Money Center, Inc., 392 B.R. 814, 831 (9th

 9   Cir. BAP 2008) (“We therefore act very cautiously in recognizing a constructive trust in favor of

10   one creditor over another, as one of the strongest policies in bankruptcy law is equality of

11   distributions among like situated creditors.”); In re Charlton, 389 B.R. 97, 104–05 (Bankr. N.D.

12   Cal. 2008) (“Enforcing the retroactive property division against the estate … would favor one
13   creditor over others, thereby undermining the policy of ratable distribution.”).
14           “In bankruptcy, it does not end the matter for a court to find that state law would impose a
15   constructive trust over certain property; the constructive trust will not be given effect if it is against
16   the federal bankruptcy policy favoring ratable distribution to all creditors.” In re Advent
17   Management Corp., 178 B.R. 480, 489 (9th Cir. BAP 1995). As observed by the Ninth Circuit:
18                [W]e cannot accept the proposition that the bankruptcy estate is automatically
19                deprived of any funds that state law might find subject to a constructive trust. *** A
                  constructive trust is not the same kind of interest in property as a joint tenancy or a
20                remainder. It is a remedy, flexibly fashioned in equity to provide relief where a
                  balancing of interests in the context of a particular case seems to call for it.
21                Moreover, in the case presented here it is an inchoate remedy; we are not dealing
                  with property that a state court decree has in the past placed under a constructive
22
                  trust. We necessarily act very cautiously in exercising such a relatively
23                undefined equitable power in favor of one group of potential creditors at the
                  expense of other creditors, for ratable distribution among all creditors is one of
24                the strongest policies behind the bankruptcy laws.

25   In re North American Coin & Currency, Ltd., 767 F.2d 1573, 1575 (9th Cir. 1985).

26           Moreover, even if certain customers are deemed to have some form of property right or in

27   rem interest in the funds held by the trustee, such rights are unperfected and therefore inferior to the

28   strong-arm powers of the Trustee. “A fair reading of the statutes in this context mandates that

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 1   section 544(a)(3) prevail in this and similar instances. An asserted constructive trust clearly

 2   represents the kind of inchoate claim that section 544(a)(3) was designed to cut off.” In re Seaway

 3   Exp. Corp., 912 F.2d 1125, 1129 (9th Cir. 1990) (internal marks omitted) quoting In re Tleel, 876

 4   F.2d 769 (9th Cir.1989) (inchoate trust remedy not superior to trustee's strong-arm power). See also

 5   In re Markair, Inc., 172 B.R. 638, 642 (9th Cir. BAP 1994) (“If a constructive trust would have

 6   been the proper state law remedy to prevent [debtor’s] unjust retention of the res, that remedy was

 7   inchoate when the estate was formed, and the trustee, representing the creditors of the estate, may

 8   defeat its application pursuant to § 544(a).”); In re Lewis W. Shurtleff, Inc., 778 F.2d 1416 (9th

 9   Cir.1985) (inchoate remedy of constructive trust not superior to trustee's strong-arm and policy of

10   ratable distribution); In re Advent Management Corp., 178 B.R. 480, 489 (9th Cir. BAP 1995)

11   (Where there is no order recognizing a constructive trust prepetition, a trustee may avoid a
12   constructive trust through the exercise of the strong-arm powers of section 544(a)).
13           For the same reasons here, the UST’s request to impose a trust over the funds held by the
14   Trustee violates the federal bankruptcy policy of ratable distribution among creditors. The UST’s
15   argument to impose a trust would benefit a small subset of customers, at the expense of other
16   customers and unsecured creditors of the estate. Such a remedy would arbitrarily favor one group
17   of creditors over other unsecured creditors. Bankruptcy policy dictates that such funds should be
18   held by the estate for the benefit of all creditors.
19       D. Putative Class Counsel Lacks Standing to Object to the Sale Motion.
20           Putative class counsel for Carolyn Beech has also filed a brief objecting to the Sale Motion,
21   Docket No. 254 (the “Beech Objection”). Putative class counsel has purported to execute and file a
22   Class Proof of Claim, identified as Claim 82-1, on behalf of a class of LPG’s customers residing in
23   states other than Georgia (“Class Claim”). However, the purported Class Claim is facially
24   defective, and thus putative class counsel lacks standing to object to the Sale Motion on behalf of
25   the purported class. Rule 23 of the Federal Rules of Civil Procedure (“FRCP”) governs class action
26   proceedings in federal court. Rule 7023 of the Federal Rules of Bankruptcy Procedure (“FRBP”),
27   which incorporates FRCP 23, does not automatically apply to contested matters, such as proofs of
28   claim. Rather, pursuant to FRBP 9014(c), the bankruptcy court has discretion as to whether to

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 1   apply FRCP 23 to allow a class claim in the bankruptcy proceeding. FRBP 9014(c) requires a

 2   putative class representative to affirmative file a motion requesting the application of FRBP 7023 to

 3   the claims process. In re Certified Parking Attendants, LLC, 2012 WL 525516, at *3

 4   (N.D.Cal.,2012) (“In the absence of any motion under Rule 9014 seeking to apply FRCP 23

 5   through Rule 7023, the Court finds that bankruptcy court did not err in not allowing a class claim

 6   by Appellants.”); Mortland v. Aughney, 2011 WL 2653515, at *2 (N.D. Cal. 2011) (“Appellants

 7   never moved the bankruptcy court for application of Rule 23. That is dispositive.”).

 8           Moreover, it is improper for putative class counsel to execute and file a class claim without

 9   prior authorization from each putative class member. Reid v. White Motor Corp., 886 F.2d 1462,

10   1471–72 (6th Cir. 1989); In re Brand Affinity Technologies, Inc., 2016 WL 8309670, at *1 (Bankr.
11   C.D. Cal. 2016). Such authorization must exist before the Class Claim is filed. In re Standard
12   Metals Corp., 817 F.2d 625 (10th Cir. 1987) (“Attempts to file proofs of claim on behalf of a class
13   have been rejected where there was no showing that each member of the class had authorized the
14   ‘agent’ to file on his or her behalf. Rule 3001(b) allows a creditor to decide to file a proof of claim
15   and to instruct an agent to do so; it does not allow an ‘agent’ to decide to file a proof of claim and
16   then inform a creditor after the fact.”); In re FIRSTPLUS Financial, Inc., 248 B.R. 60, 70 (Bankr.
17   N.D. Tex. 2000) (“[I]f a class proof of claim is proper, it should be proper from the moment of its
18   filing; the class representative's authorized agent status under Rule 3001(b) should not be
19   established after the fact, it should exist and persist from the instant the claim is filed.”).
20           Since the Class Claim has not been filed in compliance with the Bankruptcy Rules and there
21   has been no class certification, the Class Claim is not prima facie valid. In re Musicland Holding
22   Corp., 362 B.R. 644, 652 (Bankr. S.D.N.Y. 2007) (“The proof of claim, improperly filed or
23   improperly signed, is not prima facie evidence of the debt, and until class certification, may not
24   even be a ‘filed’ claim within the meaning of 11 U.S.C. § 502(a).”).
25           Here, putative class counsel has failed to file a motion pursuant to FRBP 7023 permitting a
26   class proof of claim. Additionally, putative class counsel has failed to establish prior authorization
27   from each putative class member to execute and file a class claim on their behalf. Accordingly,
28   putative class counsel lacks any authority or standing to file the Class Claim or to represent such

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 1   class in this proceeding. Therefore, putative class counsel lacks standing to object to the Sale

 2   Motion.

 3          E.      Conclusion.

 4          Based upon the preceding, and for the reasons set forth in the Chapter 11 Trustee Brief,

 5   Creditors submit that the Court should grant the Sale Motion, overruling the objections of the UST

 6   and putative class counsel, and such other relief as the Court deems just and proper.

 7   Dated: July 19, 2023                            WINTHROP GOLUBOW HOLLANDER, LLP

 8
                                                     By:    /s/ Richard H. Golubow
 9                                                          Richard H. Golubow
                                                            Garrick A. Hollander
10                                                   Attorneys for Debt Validation Fund II, LLC, MC DVI
                                                     Fund 1, LLC and MC DVI Fund 2, LLC
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 1                                PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
 3   business address is: 1301 Dove Street, Suite 500, Newport Beach, CA 92660

 4   A true and correct copy of the foregoing document entitled (specify): RESPONSE BRIEF RE
     ORDER REQUESTING ADDITIONAL BRIEFING IN SUPPORT OF SALE MOTION will be
 5   served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
     2(d); and (b) in the manner stated below:
 6

 7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
 8   via NEF and hyperlink to the document. On July 19, 2023, I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following persons are on the
 9   Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
10          Service information continued on attached page
11   2. SERVED BY UNITED STATES MAIL: On July __, 2023, I served the following persons
12   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by
     placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
13   postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
     mailing to the judge will be completed no later than 24 hours after the document is filed.
14
            Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
16
     TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
17   F.R.Civ.P. 5 and/or controlling LBR, on July __, 2023, I served the following persons and/or entities
     by personal delivery, overnight mail service, or (for those who consented in writing to such service
18   method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
     declaration that personal delivery on, or overnight mail to, the judge will be completed no later than
19   24 hours after the document is filed.
20   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
21   correct.
       July 19, 2023                 Jeannie Martinez                    /s/ Jeannie Martinez
22     Date                   Printed Name                               Signature
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